      Case 4:18-cv-03368 Document 40 Filed on 08/27/19 in TXSD Page 1 of 5




                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
STATE OF TEXAS,                                )
                                               )
                       Plaintiff,              )
and                                            )
                                               )
BAYOU CITY WATERKEEPER,                        )
                                               )
               Plaintiff-Intervenor,           )
                                               )
               v.                              )      Civil Action No. 4:18-cv-03368
                                               )      Judge EWING WERLEIN, JR.
CITY OF HOUSTON, TEXAS,                        )
                                               )
                       Defendant.              )
                                               )

                      NOTICE OF LODGING OF CONSENT DECREE

       On September 20, 2018, Plaintiffs United States of America, on behalf of the United

States Environmental Protection Agency (“EPA”), and the State of Texas, on behalf of the Texas

Commission on Environmental Quality (“TCEQ”), filed a Complaint against the City of Houston

(“City”), Texas, pursuant to Section 309(b) and (d) of the Clean Water Act (“CWA”), 33 U.S.C.

§ 1319(b) and (d) and provisions of the Texas Water Code (“TWC”). The Complaint seeks

injunctive relief and the assessment of civil penalties for two categories of violations related to

the sewer system owned and operated by the City: (a) illegal discharges, namely sanitary sewer

overflows (“SSOs”), from components of the wastewater collection and transmission system in

violation of Section 301(a) of the CWA, 33 U.S.C. §1311(a), provisions of the TWC, and terms

and conditions of Texas Pollutant Discharge Elimination System (“TPDES”) permits and (b)
      Case 4:18-cv-03368 Document 40 Filed on 08/27/19 in TXSD Page 2 of 5




discharges of pollutants from wastewater treatment plants that exceed effluent limits established

in the City’s TPDES permits in violation of Section 301(a) of the CWA, provisions of the TWC,

and terms and conditions of TPDES permits.

       At this time, Plaintiffs notify the Court that the United States, Texas and the City have

executed a Consent Decree that would resolve the claims alleged in the Complaint. Plaintiffs

have lodged the Consent Decree with the Court. Plaintiffs request that the Court take no action

on the Consent Decree at this time. Consistent with Department of Justice regulations codified at

28 C.F.R. § 50.7, the United States will publish in the Federal Register a notice that the Consent

Decree has been lodged with Court. Similarly, consistent with the TWC § 7.110, the Office of

the Attorney General of Texas will publish in the Texas Register a notice that the Consent

Decree has been lodged with the Court. Each notice will solicit public comment on the Consent

Decree for a period of 30 days. No action by the Court is necessary in response to this Notice of

Lodging and for the duration of the public comment periods referenced above. After the close of

the two comment periods, the United States and the State will evaluate any comments received

and will thereafter request the Court to take appropriate action regarding the Consent Decree.

The Consent Decree is attached hereto as Exhibit A.

                                             Respectfully submitted,

                                             FOR THE UNITED STATES

                                             BRUCE S. GELBER
                                             Deputy Assistant Attorney General
                                             Environment and Natural Resources
                                             Division
                                             U.S. Department of Justice

                                             s/ Nathaniel Douglas
                                             NATHANIEL DOUGLAS
                                             Pennsylvania Bar No. 18217
                                             Deputy Section Chief

                                                 2
     Case 4:18-cv-03368 Document 40 Filed on 08/27/19 in TXSD Page 3 of 5




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                                           3
Case 4:18-cv-03368 Document 40 Filed on 08/27/19 in TXSD Page 4 of 5




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                               ATTORNEYS FOR THE STATE OF TEXAS




                                  4
      Case 4:18-cv-03368 Document 40 Filed on 08/27/19 in TXSD Page 5 of 5




                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 27, 2019, a copy of the foregoing Notice of Lodging of

Consent Decree was filed electronically with the Clerk of Court using the CM/ECF system. I

also certify that I caused this filing to be served by e-mail and U.S. Mail on the following

counsel:

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                                               s/ Nathaniel Douglas
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